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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                                 '!a



 Steffon Best,
                                                                       CONFIDENTIALITY
                                                Plaintiff,             STIPULATION AND
                                                                       PROTECTTVE ORDER FOR
                           -against-                                   PRODUCTION OF POLICE
                                                                       OFFICER PHOTOGRAPHS
 Police Officer Andy Cruz, et aI.,
                                                  Defendants
                                                                       t7 cv 42e8 (RJDXRML)




                 WIIEREAS, plaintiff has sought photographs of certain members of the New

 York City Police Department; and

                 WHEREAS, defendants deem these photographs to be confidential, and/or

 subjegt to certain privileges, including, without limitation, the law enforcement privilege, or

 otherwise inappropriate for public disclosure, and          will only   produce these photographs   if
 appropriate protection for their confidentiality is assured; and

                 WUnnnaS, good cause therefore exists for the entry of a protective            order

 pursuant to Rule 26(c) of the Federal Rules of Civil Procedure;

                 NOW, TIIEREFOREO          IT IS HEREBY         STIPT]LATED AND AGREED, bY

 and among the attorney for   plaintiff and the attomeys for defendants, as follows:

                 l.     As used herein, "Action" shall mean Sfeffnn Best v Police Offi e.er antz

 et. a1., 17 CV 4298 (RJDXRML).

                 2.     "Confidential Photographs" shall mean any and all photographs of any

 police officer of the New York City Police Department ("NIYPD") produced by defendants in

 this Action.
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                   3.     Except as otherwise provided below in paragraph 5, PlaintifFs attomey (or

   any member of the staff of their law firm) shall not disclose or disseminate the Confidential

   Photographs to any persotr other than plaintiffand plaintiff shall not disclose or disseminate the

   Confidential Photographs to any other persons.

                   4.     Neither plaintiff nor plaintiffs attorney may use the Confidential

   Photographs for any purpose other than to assist with identification of officers present during the

   incident in this Action and deterrnining the role of each officer.

                   5.     Plaintiffs attorney may show the Confidential Photographs to a witness

   appearing at a deposition   in this matter for the purpose of identifuing the officers who        were

   present during the incident in this Action and determining the role of each ofiicer.

                   6.     Neither plaintiff nor plaintiffs attomey (or any member of the staff of

   their law firm) shall make any copies, electronic or otherwise,      o{   or upload, digitalize, scan or

    computerize in any fashion, the Confidential Photographs.

                   7.      The Confidential Photographs shall be retumed to defendants' counsel in

    their original form within fourteen (14) days following the completion of depositions in this

    Action.

                   8.      Neitler plaintitr nor plaintiffs attorney (nor any member of the staff of

    their law firm) shall retain any copy, electronic or otherwise, of the Confidential Photographs.

                   9.      Plaintiffs counsel (or any member of the staff of their law firm) shall not

    pennit any person to whom plaintiffs counsel may have disclosed or disserninated a copy of the

    Confidential Photographs to retain any copies of such photographs.




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                    10.    Nothing in this Stipulation of Confidentiality and Protective Order shall be

   construed to   limit the defendants' use of the Confidential Photographs in any lnanner.


   Dated: New York, New York
JsNorrtl\-Hffiar'/ 8         2018



   Gabriel P. Harvis, Esq.                                 ZACHARY W. CARTER
   Harvis & Fett LLP                                       Corporation Counsel of the
   Attorneysfor Plaintiff                                  City ofNew York
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                                                           Qrz)356-2424




   By:                                            By:
                    P. Harvis, Esq.                        Melissa Wachs
                                                           Senior Counsel




                                                  SO ORDERED:




                                                  HONORABLE ROBERT M. LEVY
                                                  UNMED STATES MAGISTRATE JUDGE
                                                  Daied:




                                                   -J-
